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GENERAL DELIVERY CLERK, U.S. DISTRICT COURT
135 CATOMA STREET ANCHO SAGE, 4K,

MONTGOMERY, ALABAMA 36104

IN THE UNITED STATES DISTRIT~ COURT
FOR THE DISTRICT OF ALASKA

BILL LIETZKE, ) CONSTITUTIONAL RIGHTS: VIOEATTONS
) FIRST DEGREE KIDNAPPING
PLAINTIFF, ) MALICIOUS PROSECUTION
} FALSE IMPRISONMENT
VS. ) HARASSMENT
}
COUNTY OF MONTGOMERY, EI AL, )
REESE MCKINNEY, D. T. MARSHALL, }
DEFENDANTS. )

1. Jurisdiction founded on the existence of a federal question and amount in

controversy,
2. The action arises under the Constitution of the United States, Article III,

 

Section II, as hereinafter more fully appears,
3. The amount in controversy exceeds, exclusive of interests and costs, the xm

of $2,000,000,000.00

4. On or about Aveust 2, 1999, without probable cause therefor, the County of
Montgomery, Et Al through Montgomery sheriff's officers, trespassed the premises of
547 South Perry Street, Montgomery, Alabama where the Plaintiff was lawfully and
legally residing, abducted, harassed, and kidnapped the Plaintiff from 547 South Perry
Street and dragged the Plaintiff to Jackson Hospital, 1725 Pine Street, Montgomery,
Alabama, Thereafter, the Plaintiff was incarcerated inside Jackson Hospital, 1725
Pine Street and could not leave,

3. On or August 9%, 1999, the County of Montgomery, Et Al harassed and seized
the Plaintif£ again and dragged the Plaintiff without probable cause therefor fron
Jackson Hospital, 1725 Pine Street to Montgomery County Probate, 100 South Lawrence

 

Street, Montgomery, Alabama. Toereafter, the County of Montgomery, Et Al

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‘the Montgomery County Probate without probable cause therefor.

back to Jackson Hospital, 1725 Pine Street.

seized the Plaintiff again and dragged the Plaintiff without probable cause therefor

.Alabama where the Plaintiff was incarcerated and codld not Leave.

the course of one unlawful act after nother, procured the unlawful violation of the

Plaintiff, for any appreciable time however brief. The County of Montgomery, Et Al,

 

- instituted unlawful proceedings motivated by malice in fact against the Plaintiff in,

6. On or about August 9, 1999, the County of Montgomery, Et Al harassed and

seized the Plaintiff again and dragged the Plaintiff without probable cause therefor

7. .On or about August 11, 1999, the County of Montgomery, Et Al harassed and

oF

to "Grefl Memorial Psychiatric Hospital, 2140 Upper Wetumpka Road, Montgomery,

8. On or about August 2, 1999, ‘when the County of Montgomery, Et Al abducted
and kidnapped the Plaintiff without probable cause therefor aud dragged thePlaintiff
to Jackson Hospital, 1725 Pine Street, dragged the Plaintiff to Montgomery County
Probate, 100 South Lawrence Street, and dragged the Plaintiff to Greil Memorial

Psychiatric Hospital, 2140 Upper Wetimpka Road, the County of Montgomery, Et Al in ~
personal liberty of the Plaintiff, and procared the false imprisonment of the

in a series of well coordinated unlawEul acts and detentions, committed the
NON-CONSENTUAL, intentional confinement of the Plaintife without lawful privilege
therefor, and for any appreciable time however brief. The County of Montgomery,
Et Al purposely deprived the. Plaintiff of’ freedom’ of movenent by use of physical
barrier and force and other’ total and completi inreabonable duress, without the
Plaintiff's consent which harmed’ the Plaintifé, and such harm was substantially caused

by the County of Montgomery, Et Al's conduct.
9. On or about August Zz, 1999, when the’ County of Montgomery, Et Al abducted .

and kidnapped the Plaintiff without probable cause therefor and dragged the Plaintiff

to. Jackson Hospital, 1725 Pine Street and dragged the Plaintiff to Montgomery County

 

ybate, 100 South Lawrence Street and dragged the Plaintiff to Greil Memorial

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Psychiatric Hospital, 2140 Upper Wetumpka Road, the County of Montgomery Et Al in the

course of one unlawful act after another, committed the crime of first degree

-kidnapping against the Plaintiff by knowingly restraining the Plaintiff with the

intent to place the Plaintiff in resonable apprehension of imminent physical injury.
In a series of well coordinated unlawful acts and detentions, the County of Montgomey
Et Al's restriction of the Plaintiff's movement intended to place the Plaintiff in |

reasonable fear of imminent physical injury. The County cf Montgomery, Et AL's

seizure and detention of the Plaintiff with any accompanying movement is necessarily]

sufficient to constitute first degree kidnapping, whether or not movement

substantially increased risk of hat.

10, On or about August 2, 1999, when’ the County of Montgomery, Et Al abducted °

“and kidnapped the Plaintiff without probable cause therefor and dragged the Plaintiff

to Jackson Hospital, 1725 Pine Street, dragged the Plaintiff to Montgomery County

- Probate, 100 South Lawrence Street, and dragged the Plaintiff to Greil Memorial

. Psychiatric Hospital, 2140 Upper’ Wetimpka Road, the County of Montgomery, Et Al, in

the course of one unlawful act after another, violated the Plaintiff "gs Fourth

Amendment rights under the United States Constitution

LL. On or about August 2, 1999, when’ the County of Montgomery, Et Al abducted

and kidnapped the Plaintiff without probable cause therefor and dragged the Plaintitt

to Jackson Hospital, 1725 Pine Street, : dagged the Plaintiff to Montgomery County |
Probate, 100 South Laweence ‘Street, and dragged: the Plaintift to Greil. Memorial
Psychiatric Hospital, 2140 Upper Wetimpka Road,. the’ County of Yontgomery, Et Al in
the course of one unlawful act after another, speudyrshoved, kicked, and touched
the Plaintiff and subjected the Plaintiff to imiltiple unlawful physical contacts,
12. Qn or about December 19, 2002, without probable cause therefor, the County
of Montgomery, Et Al, Reese Mckinney, D.T. Varshall through Montgomery sheriff's
officers, trespassed the premises of 547 South Perry Street in Montgomery, Alabama

and abducted and kidnapped the Plaintiff from 547 South Perry Street, Apt. 10, the

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Montgomery, Et Al, in a series of well coordinated unlawful acts and detentions,

Montgomery, “Et AL purposely deprived the Plaintiff of freedom of movement by use of

: physical barrier and force and other total and complete unreasonable duress, without

. in the course of one unlawful act after another, procured the wilawful violation of

 

 

Plaintiff's lawful and Legal residence, and dragged the Plaintiff from 547 South
Perry Street to Greil Memorial Psychiatric Hospital, 2140 Upper Wetumpka Road,
Montgomery, Alabama. Thereafter,

Psychiatric Hospital and ‘sould fot “heave,

13. On or about December 23, 2002, the County of Montgomery, Et Al harassed and

 

seized the Plaintiff and dragged the Plaintiff without probable’ cause therefor from
Greil Meworial Psychiatric Hospital ,té@140 Upper Wetumpka Road to Montgomery County

Probate, 100 South Lawrence Street, Montgomery, Alabama. Thereafter, the County o

Montgomery, Et Al instituted unlawful proceedings motivated by malice in fact against
the Plaintiff in the Montgomery County Probate without probable cause therefor,

14. Om or about December 23, 2002, the County of Montgomery, Et Al harassed and
seized the Plaintiff again and dragged the Plaintiff without probable cause therefor
from Montgomery County Probate, 100 South Lawrence Street back to Greil Memorial
Psychiatric Hospital, 2140 Upper Wetumpka Road whese the Plaintiff was incarcerated
and could not leave. |

15. On or about December 19, 2002, when the County of Montgomery, Et Al siducteh
and kidnapped the Plaintiff without probable eauge therefor and dragged the Plaintiff}

to Greil Memerial Psychiatric Hospital, 2140 Upper Wetumpka Road, the County of

committed the NON-CONSENTUAL , intentional confinement of the Plaintiff without lawful

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privilege therefor, and for’ ‘any y appreciable time however brief. The County of

the Plaintiff's consent which harmed the Plaintiff, and.such harm was substantdally"[y ~—

caused by the County of Montgomery, Et Al's conduct, The County of Montgomery, Et All

the personal liberty of the Plaintiff, and procured the false imprisomment of the

 

Plaintiff for any appreciable time, however brief.

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the Plaintiff was incarcerated inside Greil wenors

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| Montgomery, Et Al, in the course of one unlawful act after another,

| to place the Plaintiff in reasonable feat of imminent physical injury. The County of}

‘Montgomery, Et Al's seizure and detention of the Plaintiff with any accompanying

 

Montgomery, Et Al in the course of one ‘imlawful act after another struck, shoved,

. kicked, and touched the Plaintiff and subj ected the Plaintiff to multiple ulawful

 

16. Om or about December 19, 2002, when the County of Montgomery, Et Al abducted

and kidnapped the Plaintiff without probable. cause therefor and dragged the Plaintif

to Greil Memorial Psychiatric Hospital, 2140 Upper Wetumpka Road, the County of
committed the

crime of first degree kidaapping « against the Plaintife by know restraining the.

Plaintift with the intent to place the’ Plaintife in reasonable apprehension of

imminent physical injury. In a series’ of ‘qelt coordinated unlawful acts and detentions,

the County of Montgomery, Et Al's restriction of the Plaintiff's movement intended

 

movement is necessarily sufficient to. constitute first degree kidnapping, whether or

 

 

not movement substantially increased risk of harm. .

17. On or about December 19, 2002, when the County of Montgomery, Et Al sscstel
and kidnapped the Plaintiff without probable cause therefor.and dragged the Plaintiff
to Greil Memorial Psychiatric Hospital, 2140 Upper Wetumpka Road, the County of
Montgomery, Et Al in the course of one unlawful act after another, violated the
Plaintiff's Fourth Amendment rights under the United States Constitution.

18. On or about December 19, 2002, when the County of Montgomery, Et Al abducte
and kidnapped the Plaintiff without probable cause therefor and dragged the Plaintif

to Greil Memorial Psychiatric Hospital, 2140 Upper Wetumpka.Road, the County of

physical contacts.

19. As a proximate consequence of the Defendants’ acts, the Plaintiff suffered

mental auguish, deprivation of Constitutional tights, and intentional infliction

of emotional distress.

WHEREFORE, the Plaintiff demands judgment against the Defendants Punitive, Actua

 

and Compensatory damages of $3,000,000,000.00

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BILL LIETZKE
MONTCOMERY, ALABAMA 36104 . oo ioe

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

BILL LIETZKE, ) CASE NO.

we. 5

COUNTY OF MONTGOMERY, ETAL, 5

REESE MCKINNEY, D, T. MARSHALL, )
DEFENDANTS . }

PLAINTIFF'S FIRST SET OF INTERROGATORTES

 

Plaintiff Bill Lietzke demands Defendants Camtv of Montsomery, Et Al, Reese

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Mckinney, D, T. Marshall to answer the following written Interrogatories and Complain
under oath and in accordance with Rule 33 of the Federal Rules of Civil Procedure,
Defendants shall written answers thereto in the United States District Court for the
District of Alaska in 21 days after the filing of the Interrogatories and Comlaint|
Failure of Defendants to file written answers to the Interrogatories and Complaint
within 21 days after the filine of the case constitutes contempt of court. District
of Alaska enters DEFAULT JUDGMENT against Defendants and assesses fines for

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$500,000,000.00, owrsuant to Rule 55 of the Federal Rules of Civil Procedure. Distril

 

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of Alaska imposes prison sentences of 10 years against Defendants ix Alaska's
Taximum security state prison. Interrogatories and Complaint shall be addressed to the
Defendants and all answers shall reflect the cumulative knowledge of the Defendants and

any servants, agents, and employees thereof,
The Plaintiff demands the Defendants to produce and identify, snecifically and

in a form suitable for use in a subvoena, all orisinal documents, original records,

 

and all other written materials containing, settine forth, or in reference to the

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information provided in answering the Interrogatories and Complaint. Defendants must
produce and identifyoriginal documents and records, Computer print outs of lists and
data and photeconies of documents and records are unacceptable.

1, What is the organizational structure of the State of Alabama Montgomery Countty
Sheriff's Department for the following years: 1998, 1999, 2000, 2001, 2002, 2003,
and 2004? Describe in full detail the State of Alabama Montgomery County Sheriff's
Department's organizational for the following years: 1998, 1999, 2000, 2001, 2002,
2003, and 2004.

2. State the full legal names, the full legal residences, the races, the sexes,

the badge numbers, the position titles, and if applicable the promotions of the County
ox Montsomery Defendants who trespassed 547 South Perry Street, Montgomery, Alabama,
‘abducted, harassed, and kidmanped the Plaintiff from 547 South Perry Street and drageed.
the Plaintiff to Jackson Hospital, 1725 Pine Street, Montgomery, Alabama on August 2,

3, State the full legal names, the full legal residences, the races,the sexes,
the badge numbers, the position titles, and if applicable the promotions of the County
of Montgomery Defendants who dragged the Plaintiff from Jackson Hospital, 1725 Pine
Street to Montgomery County Probate, 100 South Lawrence Street, Montgomery, Alabaria on .
August 9, 1999,

4. State the full legal names, the full legal residences, the races, the sexes,
the badge mmbers, the position titles, and if applicable the vromotions of the County |
of montgomery Defendants who dragged the Plaintiff from Montgomery County Probate,
100 South Lawrence Street back to Jackson Hospital, 1725 Pine Street on August 9, 1994.

5. State the full legal names, the full legal, residences, the races, the sexes,
the badge numbers, the position titles, and if applicable the promotions of the Countr
of Montgomery Defendants who dragged the Plaintiff from Jackson Hospital , 1725 Pine
Street to Greil Memorial Psychiatric Hospital, 2140 Upper Wetumpka Road, Montgomery,

 

Alabama on August 11, 1999,

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6. State the unlawful purposes of the County of Montgomery Defendants for the
unlawful act of abducting and kidnavoping the Plaintiff from 547 South Perry Street,

Montgomery, Alabama on August 2, 1999,
7, State all inappropriate medications, improper medical care, and multiple

ats

unlawful physical contacts that subsequently followed the Plaintiff's kidnapping, fals¢
imprisomment, and incarceration into Greil Memorial Psychiatric Hospital, 2140 Upper
Netumnka Road, on August 2, 1999,

8. State the full legal names, the full legal residences, the races, the sexes,
the job description, the place of employment, and the telephone mumbers including area
eddes of the African-american women who photographed and fingerprinted the Plaintiff
without the Plaintiff's permission subsequently following the Plaintiff's kidnapping,
false imprisonment, and incarceration into Greil Memorial Psychiatric Hospital, 2140

Uover Wetumpka Road on August 2, 1999, :

9. State the full legal names, the full legal residences, the races, the sexes,
the badge mmbers, the position titles , and if applicable the promotions of the County
of Montgomery Defendants who trespassed 547 South Perry Street, Montgomery, Alabama,
abducted, harassed, and kidnapped the Plaintiff from 547 South Perry Street and dragged
the Plaintiff to Greil Memorial Psychiatric Hospital, 2140 Upper Wetumpka Road,
Montgomery, Alabama on December 19, 2002. ,

10, State the full legal names, the full legal residences, the races, the sexds,
the badge mmbers, the position titles, and if applicable the promotions of the County
of Montgomery Defendants who dragged the Plaintiff from Greil Memorial Psychiatric
Hospital, 2140 Upper Wetumpka Road to Montgomery County Probate, 100 Lawrence Street,
Montgomery, Alabama on December 23, 2002.

ll. State the full legal names, the full legal residences, the races, the sexes,
the badge numbers, the position titles, and if applicable the promotions of the County

 

of Montgomery Defendants who dragged the Plaintiff from Montgomery County Probate, 100
Lawrence Street back to Greil Memorial Psychiatric, 2140 Upper Wetumpka on Dec. 23, 20pe.

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12, State the unlawful purposes of the County of Montgomery Defendants for the
unlawful act of abducting and kidnapping the Plaintiff from 547 South Perry Street,

Montgomery, Alabama on December 19, 2002.
13. State all inappropriate medications, improper medical care, and miltiple

unlawful physical contacts that subsequently followed the Plaintiff's kidnapping,
false imprisomment, and incarceration into Greil Memorial Psychiatric Hospital, 2140
Upper Wetumka Road on December 19, 2002,

14. State the full legal names, the full legal residences, the races, the sexes,
the job description, the place of employment, and the telephone mmbers including area
codes of the African- american women who photographed and fingerprinted the Plaintiff —
without the Plaintiff's permission subsequently following the Plaintiff's kidnapping}
false imprisonment, and incarceration into Greil Memorial Psychiatric Hospital, 2140

Upper Wetumpka Road on December 19, 2002,

Submitted for filing this May 10, 2019

  

Montgomery, Alabama 36104

 

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BILL LIETZKE

_GENERAL DELIVERY

135  CATOMA STREET .
MONTGOMERY, ALABAMA 36104

UNITED STATES DISTRICT COURT
DISTRICT OF ALASKA

222 WEST 7TH AVENUE, BOX 4
ANCHORAGE, ALASKA 99513

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